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AO 91 (Rev. 08/09) Criminal Complaint if i i BD

 

UNITED STATES DISTRICT COURT AUG 8 2019
for the
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Northern District of Oklahoma U.S. DISTRICT ¢ COUNT
United States of America ) c
Vv. ) J J:
Wwe lS Sr 3

EARLY LIVESTOCK 5 Case No. |
a/k/a David Schneider )

)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 1, 2018 to present in the county of Tulsa in the

 

Northern District of Oklahoma, the defendant(s) violated:

Code Section Offense Description
18 U.S.C. 2250 Failure to Register

This criminal complaint is based on these facts:
See Attached Affidavit

a Continued on the attached sheet.

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Complainant ’ 's signature

Deputy U.S. Marshal Matthew Hershman
Printed name and title

Sworn to before me and signed in my presence.
Date: 08/08/2019 Cas (eats!
if Judgelssignature

City and state: Tulsa, OK Magistrate Judge Jodi F. Jayne
Printed name and title
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AFFIDAVIT

I, Matthew Hershman, being first duly sworn, do hereby depose and state that:

1. The affiant is a Deputy U.S. Marshal (DUSM) with the U.S. Marshals Service
(USMS) and has been so employed for approximately three years, currently assigned
to the Northern District of Oklahoma, Tulsa Office. The affiant is authorized to
conduct investigations into violations of Title 18, United States Code, Section 2250,
that is, Failure to Register as a Sex Offender. The facts in this affidavit are based upon
my personal observations, reports, and information provided to me by other law
enforcement agents, and government agencies and additional documents obtained
during the course of this investigation. This affidavit is intended to show merely that
there is sufficient probable cause for the requested warrant and does not purport to set
forth all of my knowledge or investigation into this matter.

2. The affidavit is made in support of a federal criminal complaint and arrest warrant
for Early LIVESTOCK (a/k/a David Schneider) for a violation of Title 18, United
States Code, Section 2250, Failure to Register, after traveling from Wisconsin to
Oklahoma. This travel occurred sometime after 07/02/2018. On that date,

LIVESTOCK reported to the Sex Offender Registry (SOR), Wisconsin Department of
Corrections (WDOC), that he was moving to Tulsa, Oklahoma on 7/03/2018. On 7/10
he told SOR WDOC that he had been staying at or near the Salvation Army at 102 N
Denver Street in Tulsa, OK for a week.

3. On 06/25/2019, DUSM Story Schankel received information from Detective (Det)
William Bonham, Tulsa Police Department (TPD), Tulsa, OK, regarding
LIVESTOCK. Det. Bonham provided TPD reports detailing officer interaction with
LIVESTOCK within the city of Tulsa. TPD reports indicated LIVESTOCK had been
living at a homeless camp at 100 S. Guthrie Ave., Tulsa, OK, as early as 05/18/2018.
On 05/11/2018, LIVESTOCK reported to SOR WDOC that he had temporarily stayed
at a Salvation Army on Denver Street in Tulsa, Oklahoma, but on 06/08/2018,
LIVESTOCK had moved back to Green Bay, WI as of 06/07/2019. On 06/27/2019, a
search of the Oklahoma Sex and Violent Offender Registry indicated LIVESTOCK
has never registered as a sex offender in Oklahoma.

5. On 11/20/1989, LIVESTOCK was convicted in the Circuit Court of Milwaukee
County, Wisconsin, of First Degree Sexual Assault, Case #: F891547. The victim in
the case was a 10 year old female. LIVESTOCK was sentenced to 3 years of
incarceration within the Wisconsin Department of Corrections.
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6. LIVESTOCK has a requirement to register as a sex offender under the Sex
Offender Registration and Notification Act (SORNA). LIVESTOCK is classified as
Tier III offender under SORNA and has an obligation to register quarterly for a
lifetime.

7. LIVESTOCK has a sex offender registration history in Wisconsin dating back to
1994, LIVESTOCK regularly maintained his sex offender registry in Wisconsin
before moving to Oklahoma. To date, LI'VESTOCK still maintains his registry in
Wisconsin. Sex offenders convicted in Wisconsin are required to maintain their
Wisconsin registries even when moving to another state. Authorities in Wisconsin
advised LIVESTOCK on at least two separate occasions that he need to register as a
sex offender in Oklahoma. LIVESTOCK acknowledged that he would register with
authorities in Oklahoma, but failed to do so.

8. From 07/10/2018 to 06/13/2019, LIVESTOCK had 40+ telephone
communications with the sex offender registry office in Wisconsin. Contact history
records indicate LIVESTOCK was living in and around Tulsa, OK, for a majority of
the said time span. From approximately 02/03/2019 to 04/03/2019, reported that he
was staying "homeless" in Oklahoma City, OK, area.

9. On 06/18/2019, the TPD arrested LIVESTOCK at 100 S. Guthrie Ave., Tulsa,
OK, for failing to register as a sex offender.

Based on the above facts, I believe probable cause exists to charge LIVESTOCK with
violations of Title 18 United States Code, Section 2250, Failure to Register as a
Sexual Offender.

Respectfully Submitted,

NS \Wersda—

Deputy U.S. Marshal Matthew Hershman

Subscribed and sworn to before me on August 6% , 2019.

 

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JODI FAAYNE

United States Magistrate Judge
